                                                                                         09/17/2019


                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF VIRGINIA
                                       CHARLOTTESVILLE DIVISION

     CYNTHIA B. SCOTT, et al.,
                                                        CASE NO. 3:12-cv-00036
                                       Plaintiffs,

                            v.                           ORDER

     HAROLD W. CLARKE, et al.,
                                                         JUDGE NORMAN K. MOON
                                        Defendants.




            This matter is before the Court on its own motion, on Plaintiffs’ Motion for Emergency

  Enforcement Pursuant to Settlement Agreement (Dkt. 562), and on Plaintiffs’ filing notifying the

  Court of the death of Ms. Margie Ryder (Dkt. 598).

            Counsel for the parties are DIRECTED to contact the Clerk of the Court to schedule and

  participate in a status conference, to address any current actions requested from the Court, and any

  then-pending motions before the Court (except Plaintiffs’ Petition for Award of Attorneys’ Fees

  and Costs, which has been referred to Judge Hoppe (Dkt. 582)). Such status conference shall be

  scheduled in September or October 2019.

            It is so ORDERED.

            The Clerk of the Court is directed to send a certified copy of this Order to all counsel of

  record.

            Entered this 17th     day of September, 2019




Case 3:12-cv-00036-NKM-JCH Document 611 Filed 09/17/19 Page 1 of 1 Pageid#: 16573
